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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 7

AS WIND DOWN, LLC, et al.,1                            Case No. 19-11842 (LSS)
                                                       (Jointly Administered)
                                  Debtors.


                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                     HEARING ON JANUARY 21, 2020 AT 11:00 A.M.


 ADJOURNED MATTERS

         1.       Fourth Monthly and Final Application of Young Conaway Stargatt & Taylor, LLP
                  as Counsel to the Debtors and Debtors in Possession for Allowance of
                  Compensation and Reimbursement of Expenses Incurred for the Period from
                  November 1, 2019 Through December 9, 2019 and the Final Period from August
                  16, 2019 Through December 9, 2019 (filed December 13, 2019) [Dkt. No. 525]

                  Response Deadline:        January 6, 2020.

                  Response Received: None.

                  Related Documents:

                  a.       Supplement to Fourth Monthly and Final Application of Young Conaway
                           Stargatt & Taylor, LLP as Counsel to the Debtors and Debtors in
                           Possession for Allowance of Compensation and Reimbursement of
                           Expenses Incurred for the Interim Period from November 1, 2019 through
                           and including December 9, 2019, and the Final Period from August 16,
                           2019 through and including December 9, 2019 (filed January 13, 2020)
                           [Dkt. No. 548]

                  b.       Joint Reply to Limited Objection of Ornatus URG Funding to the Final
                           Fee Applications of (I) Cooley LLP; (II) Potter Anderson & Corroon LLP;
                           and (III) CBIZ Accounting Tax and Advisory of New York, LLC (filed
                           January 15, 2020) [Dkt. No. 549]


 1
  The Debtors in these Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: AS Wind Down, LLC (f/k/a Avenue Stores, LLC) (0838); OURGH Wind Down, LLC (f/k/a
 Ornatus URG Holdings, LLC) (1146); OURGRE Wind Down, LLC (f/k/a Ornatus URG Real Estate, LLC) (9565);
 and OURGGC Wind Down, LLC (f/k/a Ornatus URG Gift Cards, LLC) (9203).
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     Status:    This matter is adjourned until the next scheduled omnibus hearing to
                allow the Parties additional time to address the arguments raised in the
                response filed by counsel to the Official Committee of Unsecured
                Creditors.

2.   Combined Monthly and Final Fee Application of Prime Clerk LLC,
     Administrative Advisor to the Debtors for Compensation for Services and
     Reimbursement of Expenses for (I) the Monthly Period From November 1, 2019
     Through November 22, 2019, and (II) The Final Period From August 16, 2019
     Through November 22, 2019 (filed December 13, 2019) [Dkt. No. 529]

     Response Deadline:      January 6, 2020.

     Response Received: None.

     Related Documents:

     a.        Joint Reply to Limited Objection of Ornatus URG Funding to the Final
               Fee Applications of (I) Cooley LLP; (II) Potter Anderson & Corroon LLP;
               and (III) CBIZ Accounting Tax and Advisory of New York, LLC (filed
               January 15, 2020) [Dkt. No. 549]

     Status:    This matter is adjourned until the next scheduled omnibus hearing to
                allow the Parties additional time to address the arguments raised in the
                response filed by counsel to the Official Committee of Unsecured
                Creditors.

3.   Third Monthly and Final Application of Potter Anderson & Corroon LLP for for
     the period August 27, 2019 to November 22, 2019 (filed December 13, 2019)
     [Dkt. No. 530]

     Response Deadline:      January 6, 2020.

     Response Received:

     a.        Limited Objection to the Final Fee Applications of (I) Cooley LLP; (II)
               Potter Anderson & Corroon LLP; and (III) CBIZ Accounting Tax and
               Advisory of New York, LLC (filed January 6, 2020) [Dkt. No. 543]

     Related Documents:

     a.        Joint Reply to Limited Objection of Ornatus URG Funding to the Final
               Fee Applications of (I) Cooley LLP; (II) Potter Anderson & Corroon LLP;
               and (III) CBIZ Accounting Tax and Advisory of New York, LLC (filed
               January 15, 2020) [Dkt. No. 549]

     Status:    This matter is adjourned until the next scheduled omnibus hearing to
                allow the Parties additional time to address the arguments raised in the
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                response filed by counsel to the Official Committee of Unsecured
                Creditors.

4.   Third Monthly and Final Application of CBIZ Accounting Tax and Advisory of
     New York, LLC for the Period August 27, 2019 to November 22, 2019 (filed
     December 13, 2019) [Dkt. No. 531]

     Response Deadline:      January 6, 2020.

     Response Received:

     a.        Limited Objection to the Final Fee Applications of (I) Cooley LLP; (II)
               Potter Anderson & Corroon LLP; and (III) CBIZ Accounting Tax and
               Advisory of New York, LLC (filed January 6, 2020) [Dkt. No. 543]

     Related Documents:

     a.        Joint Reply to Limited Objection of Ornatus URG Funding to the Final
               Fee Applications of (I) Cooley LLP; (II) Potter Anderson & Corroon LLP;
               and (III) CBIZ Accounting Tax and Advisory of New York, LLC (filed
               January 15, 2020) [Dkt. No. 549]

     Status:    This matter is adjourned until the next scheduled omnibus hearing to
                allow the Parties additional time to address the arguments raised in the
                response filed by counsel to the Official Committee of Unsecured
                Creditors.

5.   Third Monthly and Final Application of CBIZ Accounting Tax and Advisory of
     New York, LLC for the period August 27, 2019 to November 22, 2019 (filed
     December 13, 2019) [Dkt. No. 532]

     Response Deadline:      January 6, 2020.

     Response Received:

     a.        Limited Objection to the Final Fee Applications of (I) Cooley LLP; (II)
               Potter Anderson & Corroon LLP; and (III) CBIZ Accounting Tax and
               Advisory of New York, LLC (filed January 6, 2020) [Dkt. No. 543]

     Related Documents:

     a.        Joint Reply to Limited Objection of Ornatus URG Funding to the Final
               Fee Applications of (I) Cooley LLP; (II) Potter Anderson & Corroon LLP;
               and (III) CBIZ Accounting Tax and Advisory of New York, LLC (filed
               January 15, 2020) [Dkt. No. 549]

     Status:    This matter is adjourned until the next scheduled omnibus hearing to
                allow the Parties additional time to address the arguments raised in the
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                      response filed by counsel to the Official Committee of Unsecured
                      Creditors.

UNCONTESTED MATTERS WITH A CERTIFICATE OF NO OBJECTION

      6.     Application of the Chapter 7 Trustee for an Order Authorizing Retention of
             Archer & Greiner, P.C. as General Bankruptcy Counsel to the Chapter 7 Trustee
             Nunc Pro Tunc to November 22, 2019 (filed December 19, 2019) [Dkt. No. 537]

             Response Deadline:    January 14, 2020

             Response Received: None.

             Related Documents:

             a.     Certificate of No Objection (filed January 15, 2020) [Dkt. No. 550]

             Status: A Certificate of No Objection has been filed.

      7.     Application of David W. Carickhoff, Chapter 7 Trustee, Pursuant to Bankruptcy
             Code Sections 327(a) and 328(a), Bankruptcy Rules 2014(a) and 2016, and Local
             Rule 2014-1 for Authority to Employ and Retain Giuliano, Miller & Company,
             LLC as Accountants and Financial Advisors to the Chapter 7 Trustee, Nunc Pro
             Tunc to November 22, 2019 (filed December 19, 2019) [Dkt. No. 538]

             Response Deadline:    January 14, 2020

             Response Received: None.

             Related Documents:

             a.     Certificate of No Objection (filed January 15, 2020) [Dkt. No. 551]

             Status: A Certificate of No Objection has been filed.

Dated: January 16, 2020                         ARCHER & GREINER, P.C.

                                                /s/ Kevin F. Shaw
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                                                Proposed Counsel for the Chapter 7 Trustee
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